Case 1:17-cv-00462-TBD Document 204 Filed 01/10/20 Page 1 of 6 PageID #: 3102



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

BAYER INTELLECTUAL PROPERTY                        )
GMBH, BAYER AG and                                 )
JANSSEN PHARMACEUTICALS, INC.,                     )
                                                   )
                       Plaintiffs,                 )
                                                   )
                 v.                                ) C.A. No. 17-462 (TBD)
                                                   ) CONSOLIDATED
TARO PHARMACEUTICAL INDUSTRIES                     )
LTD., TARO PHARMACEUTICALS U.S.A.,                 )
INC., et al.,                                      )
                                                   )
                       Defendants.                 )

                               PLAINTIFFS’ STATUS REPORT

       Pursuant to the Court’s Minute Order dated November 12, 2019, Plaintiffs Bayer

Intellectual Property GmbH, Bayer AG, and Janssen Pharmaceuticals, Inc., provide the following

status report concerning (1) revisions to the proposed consent judgments with Mylan

Pharmaceuticals, Inc. (“Mylan”) and Breckenridge Pharmaceutical, Inc. (“Breckenridge”); and

(2) the status of negotiations with other parties in the above-captioned consolidated case and

related cases:

       1.        The proposed consent judgments with Mylan and Breckenridge were revised and

those cases were dismissed with prejudice by stipulation. D.I. 193, 194.

       2.        In addition to Mylan and Breckenridge, there were 12 other defendant groups

involved in the above-captioned case and related cases. Plaintiffs have dismissed with prejudice

their claims against five of those defendant groups. D.I. No. 197, 198, 201; C.A. No. 19-1238-

TBD, D.I. 21; C.A. No. 19-1448-TBD, D.I. No. 9. Plaintiffs are actively negotiating with the

remaining seven defendant groups.
Case 1:17-cv-00462-TBD Document 204 Filed 01/10/20 Page 2 of 6 PageID #: 3103



       The cases against the remaining, non-dismissed defendant groups are all stayed pursuant

to separate stipulations entered by the Court. See D.I. 33, 40, 79, 130, 134, 146, 166. If

necessary, however, Plaintiffs request that the Court extend the stay first entered on August 7,

2019 in the above-captioned case for a further 60 days so that Plaintiffs can continue

negotiations with the remaining, non-dismissed defendant groups.


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January 10, 2020




                                               2
Case 1:17-cv-00462-TBD Document 204 Filed 01/10/20 Page 3 of 6 PageID #: 3104



                                  CERTIFICATE OF SERVICE

                I hereby certify that on January 10, 2020, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send notification of

such filing to all registered participants.

                I further certify that I caused copies of the foregoing document to be served on

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Case 1:17-cv-00462-TBD Document 204 Filed 01/10/20 Page 4 of 6 PageID #: 3105



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                                              2
Case 1:17-cv-00462-TBD Document 204 Filed 01/10/20 Page 5 of 6 PageID #: 3106



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                                             3
Case 1:17-cv-00462-TBD Document 204 Filed 01/10/20 Page 6 of 6 PageID #: 3107



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                                       4
